CASE N˚ 18-06068-12                                   PPROJECTIONS VAQUERIA ALMEYDA, INC.
                                                            SEPTEMBER 4-OCTOBER 4 2019
                                                           AVERAGING 11,480 LTS BIWEEKLY
                                                     milking 80 cows averaging 10.25 lts/day/cow
                                                             occupying 22.85% milk quota




dry: 20                                      Milk Quota 50,250 lts biweekly
Culled: 1


INCOME:       SUIZA                                                            $
Milk Sales: Sept.              22,960 lts @ 76¢/lt                         17,450.00
              Oct. 4           Liq. Oct. 4   (less ant. )                     4362.00
Sale of Cow to Butcher                                                             0.00
Sale of hay                                                                    900.00
ADEA          Production Incentive                                          1,470.00 Approximate
USDA-FSA      MFP                                                                  0.00
Money in bank and on hand                                                      400.00 Estimated
               Total Income:                                               24,582.00


Less Operational Costs:
Wages:                         $508.00/wk                      2,540.00 5 wks
Unemployment                                                       0.00
FICA                                                             311.00
Feed          $16.50/Q                                         7,500.00 5 wks
Forage        cows graze on pasture                                0.00
Medicines & Veterinary                       AGH                 145.00
Tick plaguicide                                                   40.00
Farm Maintenance & repairs                                        75.00
Milking Equipment                                                 75.00
Farm Machinery                                                   100.00
Materials & Supplies           detergents                        325.00
Car & Truck                                                       75.00
Fuel                                                           1,500.00
herbicide                      Forefront 2.5 gals.                 0.00
Hired Help    not on payroll                                   1,800.00 5 wks
Utilities:    AEE              Tel.                              570.00
farm lease                     Juan Amador                     1,000.00
Professional Services:         gestor        cash                300.00 300.00/month
                               Lab. Milk sample                    7.00
IVU on AGH bill                                                    0.00
freight                        forrage                           800.00 $160.00/wk
bank charges                                                      16.00
               Total Operational Costs:                       17,179.00


Capital Expenditures: Heifers                                      0.00


Less Obligations & Others:
CPA           through milk assignments                           281.00 Enrique Maisonet               5 wks
ORIL          through milk assignments                           833.00                                5 wks
Aut. Tierras through milk assignments                          1,184.00                                5wks
Condado 5     through milk assignments                          5000.00 5 wks             (Sept. 4-Oct. 4)
               Total Obligations & Others:                      7298.00


Less Money used for Personal expenses:
FFIL          through milk assignments                            59.00 Dental insurance
                                                                  59.00
Total Operational, Expenditures, Obligations, personal Costs:              24,536.00


Net Income:                                                                     46.00
